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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   Hunter Killer Productions, Inc. et al,   )   Case No.: 1:19-cv-00168-LEK-KJM
                                            )   (Copyright)
                     Plaintiffs,            )
      vs.                                   )   NOTICE OF ERRATA TO
                                            )   PLAINTIFFS’ MEMORANDUM IN
   Qazi Muhammad Zarlish, et al.            )   SUPPORT OF MOTION FOR
                                            )   DEFAULT JUDGMENT AGAINST
                     Defendants.            )   DEFENDANT NGHI PHAN NHAT;
                                            )   CORRECTED MEMORANDUM IN
                                            )   SUPPORT OF MOTION FOR
                                            )   DEFAULT JUDGEMENT AGAINST
                                            )   DEFENDANT NGHI PHAN NHAT
                                            )
                                            )

  NOTICE OF ERRATA TO PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
  MOTION FOR DEFAULT JUDGMENT AGAINST DEFENDANT NGHI PHAN
                            NHAT
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        Plaintiffs Hunter Killer Productions, Inc., TBV Productions, Inc., Venice PI,

  LLC, Bodyguard Productions, Inc., and LHF Productions, Inc. (“Plaintiffs”)

  respectfully submit this errata to its Memorandum in Support of its Motion for

  Default Judgment filed on Sept. 6, 2019 [Doc. #37-1]. At pg. 14, the

  Memorandum erroneously quotes the Ninth Circuit as stating “operation of an

  interactive, commercial website is often sufficient” in Cybersell, Inc. v. Cybersell,

  Inc. at pg. 419. Rather, the Ninth Circuit stated, “the likelihood that personal

  jurisdiction can be constitutionally exercised is directly proportionate to the nature

  and quality of commercial activity that an entity conducts over the internet”.

  Plaintiffs are concurrently filing a corrected Memorandum to only correct this

  quotation and add a sentence after the quotation stating the assertion: “That is,

  operation of an interactive, commercial website is often sufficient to establish

  personal jurisdiction.” This Court, in WeR1 World Network et al. v. Cyberlynk

  Network Inc. et al., while discussing Cybersell, stated that “operation of an

  interactive, commercial website is often sufficient”.

               In Cybersell, Inc. v. Cybersell, Inc., 130 F.3d 414 (9th Cir. 1997), the
        Ninth Circuit addressed the application of the purposeful availment principle
        to defendants involved in transmissions over the Internet. The Court
        explained that “the likelihood that personal jurisdiction can be
        constitutionally exercised is directly proportionate to the nature and quality
        of commercial activity that an entity conducts over the internet.” Id. at 419
        (quoting Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp. 1119, 1124
        (W.D. Pa. 1997). Thus, operation of a passive website is not adequate to
        establish personal jurisdiction over a defendant, whereas operation of an
        interactive, commercial website is often sufficient. Id.
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  WeR1 World Network et al. v. Cyberlynk Network Inc. et al., Civil Action No. 11-

  00195 DAE-RLP, Doc. #20, Sept. 20. 2011 (emphasis added).




              DATED: Kailua-Kona, Hawaii, November 7, 2019.


                                 CULPEPPER IP, LLLC


                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

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